Case 2:19-cV-0117O-I\/|SG Document 1-1 Filed 03/19/19 Page 1 01 1

15 411 (Rcv. 00/17)

CIVIL COVER SHEET

l he .IS 44 civil cover sheet and the 1111`01111.111011 contained herein neither replace nor supplement the liling and Service 01 pleadings or other papers as required bylaw c\cept as

provided by local rules 01 court
purpose 01` initiating the civil docket sheet

This form appro\ cd by thc .ludieial Con|`ercnce 01 the Un`tl\:d Stalcs 1n Septcmbcr 1974 15 required lor the usc 01 the Clcrk 01 Court 10r the
(.S".".`ll /1\'.'8/`/1’[/( /`.l()i\'\` ()1\’/\’/ \/ l' l(r`l ()l '/`l/l.'\ l ()lt’/ll.)

 

1. (a) PLAiNTiFFS

STEWART SM|TH, individually and on behalf of all others similarly
Situated
(b) County 01`Residenceot`FirstListcd Plaintit`t` UNTGOMERY
(/~.'1\'<?/;'/’1'/1\' 1/, .\'. />/..»1/1\11'//<'/# 1 :.1.1');.\')

(C) Altcrn€ys (l n 111 r\'¢rmt' /11/1/11'\\1111¢//`1/1'/)/111)11: Nmu/)t'/)
Royer Cooper Cohen Braunfe|d LLC; Barry L. Cohen, Two Logan

Square, 100 N.181h St., Suite 710,Phi|ade1phia,PA19103

DEFENDANTS
EGV COl\/|l:’AN|ESl |NC.l a Missouri corporation,

Counly ol`Residcnee 01`First Listed De1`endant ST. CHARLES
(lN l/..S`, l'li.‘l/l\"l'//"/"('/'l.\'l;'i\' ()1\'/.1:)

IN LAND CONDEMNATION CASES_ USE THE LOCATlON Ol"
THE TRACT OF LAND lNVOL\’ED

NO‘|`E;

Attorncys (I_/‘Km)wn)

 

 

ll. BASIS OF JU RlSDlCTlON (l'lm'¢'cm ",\"'in()nc liu,\' ()/1l\')

5 3 Fedeial Oueslion
(1/..\'. (11)1'1'1‘)11111'111 Nr)l 11 /‘m'/_\')

13 l US. Govei'nment

Plainlil`f

13 2 U.S. Govemment
Def`cndant

g 4 Di\'eisi\y
(lm/iLu/u (,'1`/1':¢'11_\'/11'[7 Q/ l'url/u.\' in l/1'111 ll/)

 

lV. NATURE OF SU]T 1`1‘1111'1' 1111 '\' 111 ()m' ]3¢).\' rm,{!'}

Hl. ClTlZENSHlP OF PRlNClP/\L PARTlES (I’lacu rm ./`11()111'/111\'/1)1'/'/(11`)1/1_[/

(l"i)r I)i\'cr.\'il_\' (.`11,\'1'\' ()llly) nml ()Hu lin{\"/¢`)r /)Lj/L'n</um)

PTF DEF PTI" DEF
Citizcn 01`This St:\lc 13 l 13 l lncorpol'atcd or Piincipa| P|acc 13 4 13 4
nfBusincss |n This State
Cilizen ofAnolherStatc 13 2 0 2 lncoipol'a\cd11111/1’1111cipa1 Placc [3 5 Cl 5
ol` Business 111 Another Statc
Cilizcn oi Subjcc\ ofa D 3 D 3 F1)1 eign Nation Cl 6 13 6

l"ull:lgrl (_'uutl[r\'
C|ick here for: Nature nt'Suit Cc>de De_<ei'i tions.

  

 

 

 

 

 

 

 

 

 

 

 

 

l (.'()N’l’il.&(-_"l' T(}R'l'§ F(EI~‘E['I‘URFL'P|LN}\[.‘I'¥ H.»\NKRUPT ("1' U'l`lll-`.R S'l`.l\'l'll'l`l~'lS
Cl 1101nsu1'ance PERSONAL lN.lURY PERS()NAL lN.lURY C] 625 Di'ug Rela\c<l Seizure D 422 Appcal 28 USC 158 Cl 375 Falsc Claims Ac\
Cl 120 Marinc 13 310 Aiiplane Cl 365 Peisonal lnjuiy - 01`P1'0pcl'ty 21 USC 881 13 423 Withdl'a\val 13 376 Qui Tam (31 USC
Cl 130 Millci' Ac\ U 315 Aiiplane Pioduel Pioducl Lial)ility 13 690 Othcr 28 USC 157 3729(a))
13 140 Negotiable lnsti'umcnt Lial)ilily 13 367 Health Cale/ D 400 Sta\e Reapponionment
13 150 Rcco\'eiy ovaerpayment 13 320 Assault Lil)el & Phatmaccuuca| PR E '1' R CT|" 'S Cl 410 Anlitrust
& Enfoi'ccmcnt ol`Judg,ment Slandci' Pc1sona| 111,1111)' 13 820 Copyiigh\s 13 430 Banks and Banking,
13 151 Mcdicai'cAc1 D3 30 cheial Employeis l’lo(lucl Lial)ility [3 830 Palenl Cl 450 Commel'cc
Cl 152 Rccovely 01`Dc1`au|ted Liability Cl 368 Asheslox Peisonal 13 835 Patcnt - Abbicviatcd 13 460 Depoitation
Studcnt Loans Cl 340 Mal inc lnjniy 1’1'0duct New Di'ug /\pplica\ion 13 470 Rackeiccl' 1111111e11ce11a11d
(Excludcs Vcteians) Cl 345 Maiine Pioduct 1.1ability D 840 Ti'ademark C01'1'11pt Ol'ganizalions
13 153 Recovciy ofO\'ei'payincnt Lial)ility l’ERSONAh l'ROl’lCRTY LAM S()[_‘l.¢\ l.§i`,(.'[im'l`\' [3 480 Consulnei' Cl'cdit
ofVetei'an`s Bcnel'ils 13 35 50 1\'10101 Vehicle C] 370 ()thei Fiaud Cl 7101"ai1 La1)01 Standal'(ls 13 861 111/\(|39511) 13 490 Cal)lc/Sat T\/
Cl 160 Stockholders` Suils Cl 355 Motoi \'ehiclc 13 371 Tiulh in Lending Act 13 862 B|ack Lung (923) 13 850 Sectnities/Comniodilies/
D 190 Othci Comi act Pioduct Liability 13 380 Othei I’ersona| 13 720 1.abol'/1\4anagemcnl D 863 DI\VC/DIW\V (405(§)) E.\‘cliange
C] 195 Contiact Pioduct Liabilily 13 360 Othei Pei'sonal l’iopcily Daniai__'e Relations 13 864 SSlD Tillc X\’l [X890 Othc1 Slaliilol)' Aclions
D 196 Fi'anchisc ln_itny 13 385 1’10|)e11y l)aniage |3 740 Railway Lal)oi Act 13 865 RSl (~105(§)) g 891 Aglicu|tui'al Acts
13 362 l’eisonal |njtny - |’1od11ct 1.1111)1111}' 13 751 1~`:1niily and Medical D 893 Enviionnienlal 1\'111111:1$
Medical 1\11111)111c11€e Leave /\el g 895 Fiee(lom ol`lnfoimalion
1 RE,\|. PR{}I'I‘ZR'|"\" (TlVll. RlGllTS 1’1{1$()Nl".ll I’ETITI()NS 13 790 Othei 1_111)01 Litigation FF,DF.RA|. T,AX Slll'I`S Act
Cl 210 Land Condemnation 13 440 Othel Civil Righls llal)c;\s (jorpus: 13 791 Employec Reliiemcnt D 870 Ta\'cs (U S_ Plainli|`l` C] 896 Ail)itration
13 220 Foi'eclosurc 13 441 \’011115l 13 463 Alien 1)e1ainee lnconie Secuiii_v /\cl oi Dc|'endanl) 13 899 /\dininistlati\'e l’loced\nc
fl 230 Rent Lease & Ejectment |3 442 liniploynicnt El 510 1\11)110115 to Vacale 13 871 lRSiThii¢l Pait_\/ Acl/Revie\v 01' /\|)])eal ol`
|3 240 Tmts to Land |3 443 l'lousin_e/ Senience 26 USC 7609 Agency Decision
U 245 '1`011 Pioduct l.iahilily /\cconimmlations 13 530 Genela| D 950 Conslitutionaliiy o|
13 290 All Olliei' Real Piopeity 13 ~'145 1\1ne1 \\'/Disal)ililies - 13 535 Deaih l’enalty ll\'ll\ll(iRA'l`lON Slate Statutes
Eniployinent ()lher: 13 462 1\'111111'alization Applicalion
13 446 Ainci w/Disahililies - 13 540 1\/1.'\1111.'1111115 & ()thei 13 465 Other |1111111g111tion
()thei' g 550 (`1\'11 nghls /\clions
Cl 448 Eduealion Cl 555 l’iison (`on(litlon
13 560 (`1\'11 l')etainee -
(`ondilion\' o|`
(`1»111111e111e111

 

 

 

 

 

 

V. ORlGlN (l'l(/¢'u 1111 "`\"

g l Original 13 2 Removed l`roln
l’rocecding State Couil

m r)/n' /11).\‘!)11/_\')

Remanded |`1‘on1 1"| 4

Appellate Cotnt

13 3

Vl. CAUSE OF ACT|ON

|3r1e1`descr1ptlon ol`cause

 

13 138Mull1clistr1e1
1-111§1111011-

l)trect 11|e

[l 6 Mu|tidistrict
1.1t1gation -
lransler

l 'l`ran:; I`crred |`roln
/\nothcr Dislricl
r’_-'\|r'.¢a}_i'l

Re\nstated or
Reopened

Cite lhe U S Cl\'il Slatute under \\hlch \'ou aie 1`1|111§ (l)unor1i/ujuri,\'ili¢rm/ml.\mlulu.v11/1Iu.v.\'ili\'ui~xiql~)

28 U,S.C. SEC. 1331; 28 l_l_S_Cv SEC1332‘,4? U_S_C_ SEC 227

\/io|ation of the Telephone Consumer Protection Act

 

 

 

\/]| REQUESTED |N |§ CIH§CK }[-' '|'||15 15 /\ (j[ \.55 ,\("|`|()1\' 1)1~11\1/\1\‘1) 5 CHIECl'\' YES only 11`demanded 1n complaint
COM[>LA|NT: UND| R RUl| 231 R C\ P .llIRY 1)1£1\11\1\'1): X Yes 13No
Vlll. RELATE[) CASE(S)
` 18`1'1' //1\'/1'111//4)11\1
ll‘ ANY .1111)(;|' D()C|\'l`;'|`NU|WBl-jR
l)¢\'l`l§ _____J_§,i'\'\ll 1\1. (ll \_J('ll\’.\l ‘1 111 1\'|_1`()1{1)
03/19/2019 h / .¢____“

 

l~`()l( ()l"l"|(,`|i 1181~1 ()Nl,\

!{l'(`l'ill’l " \1\1()11Nl \|'l’l \ |N(i 11 1'

|1,11)(11§ 1\1.-\(`1 |l,`l)(}l§

